                                    UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE
                                       CRIMINAL MINUTES: PLEA
                                            January 28, 2013

United States of America vs. Tyrone Cortez Cobb
Case No. 3:12-cr-00053-1



CHANGE OF PLEA HEARING: The parties are reminded to comply with the deadlines set forth in LR 83.9

               Present Before the Honorable Thomas A. Varlan, Chief United States District Judge

           Julie Norwood                         Netta Kocuba                          Scott Queener
        Courtroom Deputy                       Court Reporter                           Probation

                   Cynthia Davidson                                          Wesley Stone
            Assistant U.S. Attorney                                  Attorney for the Defendant


PROCEEDINGS:
•     Defendant Sworn
•     Court questions Defendant regarding physical and mental condition, and advises Defendant of the nature
      and possible consequences of said plea
•     Defendant waives reading of Indictment
•     Defendant PLEADS guilty to count 1
•     The defendant has not filed any objections to the Report and Recommendation (doc 61) and pursuant to the
      entry of the guilty plea, the R&R will be adopted as to this defendant and the motion to suppress filed by
      Tyrone Cobb (doc. 36) is denied.
•     DATES SET:         Sentencing: May 29, 2013 @ 11:00
                         Before the Honorable Thomas A. Varlan
•     Referred for PSI
•     Defendant to remain in custody of Marshal




 2:00         to      2:25




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